                         UNITED STATES DISTRICT COURT
                                       for the
             WESTERN DISTRICT OF VIRGINIA, CHARLOTTESVILLE DIVISION


                                                          )
Plaintiff/Counter Defendant                               )
                                                          )
                                                          )
v.                                                        )       Case No. 3:17-CV-00089 (NKM/JCH)
                                                          )
Emily Gorcenski,                                          )
Kristopher Goad,                                          )
Defendants/Counter Claimants                              )


                      AMENDED (FIRST) COUNTERCLAIMS OF DEFENDANTS
                       EMILY GORCENSKI AND KRISTOPHER GOAD

          Defendants/Counter Claimants Emily Gorcenski and Kristopher Goad (collectively,

"Defendants"), by counsel, state the following:

                                         Introductory Statement

          Plaintiff Christopher Cantwell initiated this action by filing a complaint in this court on

December 28, 2017 (the “Complaint”, Dkt. 1). Defendants filed an answer to the Complaint

(the “Answer”) on February 12, 2018 (Dkt. 9), and in the Answer asserted a number of

counterclaims. (Answer at ¶¶ 140 -182.) Plaintiff filed a motion to dismiss Defendants’

counterclaims pursuant to Rule 12(b)(6) on February 27, 2018. Defendants herein restate

their amended counterclaims, as set forth below, as a matter of course pursuant to Rule

15(a)(1)(B)(the “Amended Counterclaims”). 1



1   To avoid confusion, rather than reference the paragraph numbers in the Answer, Defendants will restart the
    paragraph numbering in this document at Paragraph 1, rather than carrying over the paragraphs numbers
    from the initial Answer and Counterclaims.

                                                         1



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                                             Parties

1.     Defendant/Counter Claimant Emily Gorcenski is an individual resident of

       Charlottesville, Virginia.

2.     Defendant/Counter Claimant Kristopher Goad is an individual resident of Richmond,

Virginia (together, with Ms. Gorcenski, “Defendants”)

3.     Plaintiff/Counter Defendant Christopher Cantwell (“Mr. Cantwell” or “Plaintiff”) is

       the individual Plaintiff in the above-captioned action.

                                 Facts of the Counterclaims

                                 Events Prior to August 11, 2017

4.     Prior to August 11, 2017, Ms. Gorcenski and Mr. Goad have been anti-racist/anti-fascist

activists and advocates of equal rights for black people, LGBTQ people, immigrants, and other

equally vulnerable and marginalized minority groups. The status of Ms. Gorcenski and Mr.

Goad as anti-racist and anti-fascist activists promoting equal rights for black people, LGBTQ

people, immigrants, and other vulnerable and marginalized minority groups was generally

known and was known to the Plaintiff through the online and in-person activism of Ms.

Gorcenski and Mr. Goad, to include mobilizing and organizing in support of equal rights and

against the rallies organized and planned by the Plaintiff and other racist, fascist organizers

throughout the summer of 2017.

5.     Prior to August 11, 2017, the Plaintiff and other persons known and unknown to Ms.

Gorcenski and Mr. Goad were hostile specifically toward Ms. Gorcenski and Mr. Goad for their

political beliefs, activities, and associations, as well as generally hostile toward anti-racist and

anti-fascist organizers and civil rights activists.     Mr. Cantwell and others made public

                                                 2



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statements and took actions evidencing their hostility toward Ms. Gorcenski and Mr. Goad.

The Plaintiff (along with others named throughout this the pleadings in this matter) made

numerous public and private statements explicitly demonstrating their desire to harm and kill

"communists," leftists, Democrats, and other activists promoting equal rights for black people,

people of color, and LGBTQ people.

                                     Events of August 11, 2017

4.        On the night of August 11, 2017, Plaintiff intentionally and knowingly deployed pepper

spray into a group of people gathered in a crowd, causing physical injury and emotional injury

to both Defendants. Plaintiff admits to deploying pepper spray in his Complaint (see Compl.

¶ 27) and the video and photographic evidence appended to the Plaintiff’s Complaint shows

Plaintiff deploying pepper spray in the area where both Defendants were present.

5.        Plaintiff has admitted in various other forums that he deployed pepper spray in a

crowded area in the immediate vicinity of Defendants. For example, in one blog post Plaintiff

states:

              “I did pepper spray one person, using the pepper spray that I always
              keep on my keychain. I made no secret of this, in part because I was
              certain my actions were lawful. I even made one journalist’s photo of the
              spraying my Facebook cover photo.”


6.        In the photo mentioned by Plaintiff, Defendant Goad can be seen clearly in the

immediate vicinity of Plaintiff’s spray. See Compl. Ex. H.

7.        The video evidence attached to the Complaint, along with the eye witness testimony of

Ms. Gorcenski and Mr. Goad, demonstrates that Plaintiff’s deployment of pepper spray was

unjustified, and was done negligently, willfully, or with reckless disregard for the safety of

others in the area.
                                                 3



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8.    The video evidence appended to the Complaint also shows that, on the night of August

11, on numerous occasions, Plaintiff made menacing, threatening, and/or frightening gestures

and acts (including brandishing of pepper spray and making physical contact) combined with

threatening comments, towards a number of people, including both Ms. Gorcenski and Mr.

Goad, which gestures and comments reasonably put both Defendants in imminent fear of

bodily harm. See, e.g., Compl. Exs. MP42, MP48.

9.           The video evidence appended to the Complaint also shows that, on the night of

August 11, on numerous occasions, Plaintiff intentionally made physical contact with and

caused actual physical harm to numerous individuals, including Ms. Gorcenski and Mr. Goad,

by, inter alia, deploying pepper spray that made contact with both Defendants, and hitting,

shoving, slapping at, and/or intentionally coming into other physical contact with both

Defendants. See, e.g., Compl. Exs. MP42, MP48.

            Plaintiff’s Arrest and Ongoing Criminal Proceedings Against Plaintiff

10.   Shortly after August 11, Ms. Gorcenski and Mr. Goad each filed police reports with the

University of Virginia Police Department related to the conduct described in paragraphs 1

through 5 above.

11.   Subsequently, and at the direction of UVA Police Sergeant Acord, Mr. Goad and Ms.

Gorcenski each swore out an affidavit, to the best of their knowledge at the time, to a

magistrate complaining of the conduct described in paragraphs 1 through 5.

12.   Upon review of these affidavits, and after conferring with law enforcement and

receiving law enforcement authorization pursuant to Virginia Code § 19.2-71, a magistrate

determined to issue three felony arrest warrants for Plaintiff. The warrants included charges

alleging Unlawful Bodily Injury by Means of Any Caustic Substance in violation of Virginia
                                            4



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Code §18.2-52, and Illegal Use of Gas in violation of Virginia Code § 18.2-312. Plaintiff was

eventually arrested and charged on these warrants, and was held without bail until December

7, 2017.

13.   As noted in the Complaint, Ms. Gorcenski and Mr. Goad each swore out a single

affidavit to the magistrate related to Plaintiff’s conduct. Compl. ¶ 58. Because neither Ms.

Gorcenski nor Mr. Goad is a magistrate, law enforcement officer, or representative of the

Commonwealth’s Attorney’s office, neither Ms. Gorcenski nor Mr. Goad had any authority to

issue the warrants referenced in paragraph 8, nor did the magistrate seek their input or advice

about which sections of the Virginia Code the warrants should issue under. As is customary,

Defendants submitted their affidavits of fact to the magistrate, and the magistrate made a

decision about which Code sections under which to issue warrants.

14.   Despite Plaintiff’s contention to the contrary (Compl. ¶ 58), it is not uncommon or

“curious” that the magistrate used the same affidavit to support more than one criminal charge;

rather, such is common practice in situations where the magistrate determines that the same

affidavit supports a finding of probable cause for more than one criminal charge.

15.   As noted in the Complaint, ¶ 67, on August 31, 2017, the Commonwealth’s Attorney

sought a superseding indictment and upgraded two of the four charged against Plaintiff,

upgrading them from “unlawful” to “malicious.”

16.   As noted in Defendants’ Answer, at the preliminary hearing on November 9, 2017, the

Albemarle County General District Court certified that there was probable cause to charge

Plaintiff with felony Illegal Use of Gas, and certified the charge to the Grand Jury. On

December 4, 2017, the Grand Jury indicted Plaintiff for one count of Illegal Use of Gas in

violation of Virginia Code § 18.2-312. That indictment is now pending prosecution in the
                                              5



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Circuit Court for Albemarle County. See Commonwealth of Virginia v. Christopher Cantwell,

Albemarle Co. Cir. Ct. CR17000784.

17.     Also on December 4, 2017 the Commonwealth sought and obtained a direct indictment

for a second charge of Illegal Use of Gas alleged to have occurred on August 11, 2017,

Commonwealth of Virginia v. Christopher Cantwell, Albemarle Co. Cir. Ct. CR17000845.

Criminal prosecution of both charges are currently ongoing, and Plaintiff’s trial on those

charges is scheduled for August 13.

18.     Also at the November 9, 2017 preliminary hearing, the General District Court ruled that

there was not sufficient probable cause for the Commonwealth to continue with the charges

against Plaintiff pursuant to Virginia Code § 18.2-52, and accordingly dismissed those two

charges. In Virginia criminal proceedings, as in other jurisdictions, it is not uncommon for a

criminal defendant to be charged under multiple statutes for the same conduct, and for some

of those charges to be dismissed while others are not dismissed.

19.     After these charges were dismissed, Plaintiff’s attorney moved for a reconsideration of

Plaintiff’s bail. Plaintiff was granted bail, and on December 7, 2017 posted bond and was

released from Albemarle County Regional Jail.

20.     Despite the ongoing criminal proceedings against him, and Plaintiff’s acknowledgment

that Ms. Gorcenski and Mr. Goad each swore out only one affidavit regarding the events in

question, Plaintiff’s Complaint alleges that the criminal proceedings against him have been

terminated in a manner not unfavorable to him 2. Given the ongoing criminal proceedings


2In Plaintiff’s Brief in Support of his 12(b)(6) motion to dismiss the initial Counterclaims, Plaintiff absurdly
argues that “[Plaintiff’s claims arise out of dismissed actions, not any pending one,” apparently referring to the
two charges under Virginia Code § 18.2-52 that were dismissed. However, the fact that two lesser felony
charges arising from the same conduct are still currently pending against Plaintiff in the Albemarle County
Circuit Court Renders Plaintiff’s argument patently false and materially misleading to the Court.
                                                        6



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against him in the Albemarle County Circuit Court, there is no factual or legal basis for this

claim.

21.      Plaintiff, who is represented by counsel in both his criminal proceedings and in the

immediate civil case, is undoubtedly aware that in this case, as in every other criminal case

brought by the Commonwealth, complaining witnesses have no authority over or input into

the decision about whether a defendant is charged as a result of a complaint, or under which

sections of the Virginia Code a defendant is charged.

22.      Similarly, Plaintiff is undoubtedly aware that in this case, as in every other criminal

case brought by the Commonwealth, complaining witnesses have no authority over or input

into the decision about whether a defendant is held without bail pending trial.




Plaintiff’s Post-Release Harassment and Witness Intimidation of Defendants

23.      On information and belief, shortly after his arrest, Plaintiff learned that the two

complaining witnesses in his criminal case were Ms. Gorcenski and Mr. Goad. Upon learning

their identities, and particularly upon regaining access to the internet upon his release from

jail on bail, Plaintiff began a systematic and relentless campaign—using the media, social

media websites, and content posted to his blog—to harass, intimidate, and threaten

Defendants, and to encourage others to do so, for the purpose of deterring Defendants from

testifying as witnesses or cooperating in the criminal case against him, and to deter other

victims from coming forward to cooperate in the criminal case. 3


3Video from August 11 demonstrates that a number of anti-racist protesters were injured by pepper spray (both
the Plaintiff’s spray and that of other white supremacists) and through other means, and the Commonwealth’s
Attorney has made substantial efforts to try and secure the cooperation of these other victims in the criminal
case against Plaintiff, and to encourage them to report crimes committed by other individuals. Despite these
                                                      7



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24.     Subsequently, Plaintiff’s statements and online conduct have constituted a relentless

torrent of harassment, threats, and intimidation designed to intimidate and harass

Defendants to deter them from testifying in the criminal proceedings against him, and to deter

other victims from coming forward to testify against him.

25.     Although the conditions of Plaintiff’s bail in the criminal case prohibit him from having

any direct or indirect contact with either Ms. Gorcenski or Mr. Goad, Plaintiff has engaged in

a pattern of conduct wherein he identifies, targets, and harasses Defendants on his blog, on

social media, and in his podcast, sending clear, if somewhat veiled instructions to his

supporters that they should seek out, harass, intimidate, and threaten Defendants in lieu of

Plaintiff being able to do so himself. These instructions often facilitate this harassment by

providing explicit directions to Defendants' social media profiles.

26.     The following paragraph 27 contains examples of these statements and conduct, each

of which was made with the intent to intimidate and harass Defendants, and to place

Defendants in reasonable fear of death or bodily injury, or which Plaintiff knew or should have

known would intimidate or harass Defendants and place Defendants in reasonable fear of

death or bodily injury, and which has in fact placed Defendants in reasonable fear of death or

bodily injury. 4

27.     Each of the following examples was also made to deter, by intimidation or threat,




efforts, no additional victims have come forward to cooperate in Plaintiff’s case or to report other cases. On
information and belief, this is due in large part to the threat of harassment and intimidation from Plaintiff and
his confederates.

4 Defendants/Counter Claimants Gorcenski and Goad allege herein allege facts demonstrative of an ongoing
pattern of behavior by Cantwell and his confederates that is explicitly intended to target and frighten them. The
facts alleged speak to the reasonableness of their fear; the reasonableness of their fear need not be separately
alleged. Furthermore, the question of reasonableness is a fact determination to be made by a jury, and not a
question of law that can be effectively reduced to writing.
                                                        8



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Defendants from testifying in the criminal proceedings against Plaintiff and/or to seek

retribution against Defendants for their having attended and testified at the preliminary

hearing in the criminal proceedings against Plaintiff: 5

        a) In an interview Plaintiff gave to The Daily Beast, which was recounted in an August

            30, 2017 article titled “‘Crying Nazi’ Says He’s Just a ‘Goddamn Human Being’” (see

            Exhibit A), Plaintiff claimed that Ms. Gorcenski was not qualified to testify in court

            because she’s “a fucking tranny”.

        b) In a podcast published on October 19, 2017, 6 Plaintiff made statements again

            admitting to the intentional physical contact and physical injury he perpetrated

            against Defendants and other counter-protesters on the evening of August 11. In

            statements where the context made clear such were directed towards and intended

            to be heard by       Defendants for the purpose of threatening, harassing, and/or



5 In Plaintiff’s brief on his Motion to Dismiss Defendant’s initial counterclaims (Dkt. No. 13, Part II), Plaintiff's
counsel seems to suggest that because many of the following involve “mere” speech, caricatures, or “parody”
songs, they are categorically exempt from being taken seriously as threats. We would hasten to remind him that
the context in which these “mere” statements, sketches, and putatively innocuous songs are being produced is
not confined to a world of fantasy or cartoon violence. Nor are they the kinds of expressive activities clearly
sheltering under the protections of the First Amendment. Rather, each instance of conduct constitutes a credible
threat. Many explicitly invoke actual harm done to each of the counter-plaintiffs and people ideologically aligned
with them, calling for copycat attacks and attempting to make a real-world meme of bias-motivated vehicular
homicide. Many of these threats issue from the keyboards and mouths of individuals who derive significant
income from the sale of English translations of Adolf Hitler's Mein Kampf, and who make their living calling for
the creation of a white ethno-state which will grant “licenses” to “Right Wing Death Squads.” Each threat issues
not from an animated rabbit with no material presence in the real world, but from people who long for the
genocidal episodes of our too-recent past, and who exhort their followers to actual violence, apparently to great
effect, given the number of murders committed by members of the so-called Alt Right since 2016. See Carless,
Will and Sankin, Aaron, “The Hate Report: 43 alt-right murders in four years,” Reveal, from the Center for
Investigative Reporting, Feb. 9, 2018, available at https://www.revealnews.org/blog/the-hate-report-43-alt-
right-murders-in-four-years/ (accessed March 20, 2018). To deride as equally unreasonable the fears of Counter
Claimants in the face of these threats—however brightly colored or Christmas-themed—and the fear of an
imaginary cartoon-viewer for the “life” of Elmer Fudd, brings the universe of false equivalencies to a new low.

6 On information and belief, Plaintiff was incarcerated at the Albemarle County Regional Jail when he recorded
this podcast. During the time when he was incarcerated, Plaintiff recorded podcast episodes via telephone from
the jail, which were published to his website under the title “Live from the Inside.”

                                                         9



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            intimidating them, Plaintiff stated 7:

                     “I let my anger build up. Put me anywhere and I will improve
                     because I'm a white man and not some kike fucking degenerate.
                     Sorry for the f. Lock me up it's not bad, I can handle I wasn't
                     crying because I was afraid of jail. I was brought to tears by
                     what's going to happen to my enemies and the fact that
                     I'm      going to do it to them. I want to be a good person, I
                     don't want to hate. I want to love people, I want peace and
                     nonviolence, but you can tell my defensive instinct. If you attack
                     the people and things I care most about and I feel the monster
                     inside me as the Saxon begins to hate and I become afraid of
                     myself. Do you know the last time I actually hurt somebody was?
                     Before August 11th? Because I don't. It's been years. What scares
                     the shit out of me is how much I enjoyed physically
                     removing all your fag ass friends.” (emphasis added)


            See Answer (Dkt. 9), Exhibit F, “LIVE from Seg! Ep. 011 - Heteronormative”

            published on October 19, 2017 by the Plaintiff and his agent Jared Howe,

            https://radicalagenda.com/2017/10/19/live-seg-ep-011-heteronormative/,

            accessed on February 9, 2018.

        c) In blog posts, podcasts, media interviews, and through social media, Plaintiff has

            repeatedly referred to, and continues to refer to Ms. Gorcenski using violent,

            derogatory language that demonstrates a vitriolic, derogatory animus towards her

            and other transgender people, including referring to Ms. Gorcenski as a “tranny

            lunatic”, and “that tranny fucking fanatic, that suicide waiting to happen.”

        d) On November 10, 2017, the webmaster for Plaintiff’s website (or another person

            acting at Plaintiff’s direction or under his supervision) posted a video of Mr. Goad

            to Mr. Cantwell’s Youtube channel and blog along with Mr. Goad’s name, noting


7 Although Ms. Gorcenski, Mr. Goad, and their counsel would prefer not to reproduce or amplify the violence
of Plaintiff’s bigoted language, in the interest of maximum transparency Plaintiff’s language will be reproduced
herein verbatim when necessary.
                                                       10



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        that Mr. Goad was “Cantwell’s accuser”, for the apparent purpose of encouraging

        Plaintiff’s audience members and followers to harass, threaten, and intimidate Mr.

        Goad.

     e) On a blog post dated August 22, 2017, Plaintiff allowed a commenter to post a

        comment referring to Ms. Gorcenski by name, in which the commenter called her

        “a tranny faggot (mentally ill by definition)”, posted her home address, and stated

        that “Someone should go talk to it”, in an effort to incite others to harass, threaten,

        intimidate and/or physically harm Ms. Gorcenski’s person or property. Despite

        having the ability as a moderator to remove it, Plaintiff has allowed the threatening

        comment to remain on his blog at least up through the date of this filing.

     f) In a blog post dated December 10, 2017, Plaintiff published a song to his blog,

        together with clearly identifiable photos of Mr. Goad and Ms. Gorcenski, titled

        “Gassing Kikes and Trannies” (See Exhibit B), in an effort to harass, threaten, or

        intimidate and/or encourage others to harass threaten, or intimidate Mr. Goad and

        Ms. Gorcenski. The song included the following lyrics:

                  “A tranny is a fuckin mental patient
                  A Jew is born to parasite to whites
                  And if you see the both of them a droppin
                  You know it’s time to really celebrate

                  Well we’re gassing kikes and trannies
                  Make the God Emperor proud
                  We can laugh with glee, while she stands and pees
                  In a caustic OC cloud
                  ….
                  You might say we’re violating rights now
                  But trannies aren’t human after all
                  Jews are victims even if you don’t spray
                  So might as well have fun and gas them all

                  Oh we’re gassing kikes and trannies
                                          11



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                     Cause we’ll be prosecuted even if we don’t
                     They always lie, so they deserve to die
                     The least we can do is make their eyes hurt”


        g) Plaintiff published to social media two drawings depicting apparent caricatures of

           anti-racist protesters, including one person who was clearly intended to represent

           Ms. Gorcenski, being run over and dismembered by a Dodge Challenger, in

           apparent homage and twisted, violent reverence to the white supremacist terrorist

           car attack that took place in Charlottesville, VA on August 12, 2017, murdering

           Heather Heyer and leaving dozens severely wounded. See Exhibit C. In the

           drawings, a cartoon frog (a version of the white supremacist meme “Pepe the Frog”)

           leans from the window of the car to deploy a large firearm against counter protesters.

           A caricature of Ms. Gorcenski, terrified and pleading to livestream viewers for

           assistance, is depicted being run over by the car.

  28.     Plaintiff has also made and published numerous online statements, through his

website, his podcast, and on social media, specifically directed towards attempting to harass,

threaten, intimidate and/or deter Ms. Gorcenski and/or Mr. Goad from testifying in the

pending criminal proceedings. In these postings, publications, and recordings, Plaintiff has

directly referenced or alluded to Defendants’ roles as witnesses in the criminal proceedings.

In some posts, Plaintiff refers to Ms. Gorcenski by name, and in others he clearly refers to Ms.

Gorcenski and/or Mr. Goad through use of derogatory slurs (e.g., “tranny”, “faggot”, “kike”, or

referring to Ms. Gorcenski’s status as a transgender woman as a “mental illness” whose

identity is a “lie”) or by referring to them as “antifa” or his “enemies”. In addition, Plaintiff

appears to particularly relish harassing Ms. Gorcenski by referring to her by her former name

(“Edward”), knowing that this is not her real name, and that referring to her by her former

                                               12



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name is a form of harassment. 8

    29.     Plaintiffs online statements often focus on his false, unfounded, and defamatory

accusations that Defendants have committed perjury in testifying against him in his criminal

proceeding. In addition to the defamatory nature of such false accusations, Plaintiffs posts

repeatedly allude to threats that Defendants will be prosecuted for perjury if they continue to

cooperate with the criminal proceedings against Plaintiff by testifying as witnesses against him.

Such threats are intended to threaten, harass, or intimidate Defendants, and/or to induce

others to do so, for the purpose of deterring them from testifying in future court proceedings

against Plaintiff.

    30.      Examples of such statements and conduct include the following:

          a) A Gab 9 stating: “Hello enemy stalker. Your entire life is a lie, and you will soon be

             punished for your sins.” This is an obvious reference to, and threat against, Ms.

             Gorcenski.

          b) Numerous Gabs where Plaintiff posts screen shots of Ms. Gorcenski’s twitter feed,

             accompanied by derogatory, insulting, and/or threatening commentary.                         For

             example, Plaintiff reposted a Tweet by Ms. Gorcenski (which included her image

             and Twitter handle) where she states “Nazis lie about everything except their desire

             and capacity for violence”, and added the statement “As opposed to trannies, who


8 See e.g. Clements, KC (medically reviewed by Janet Brito, PhD, LCSW, CST), “What is Deadnaming?”,
Healthline, October, 19, 2017, available at www.healthline.com/health/transgender/deadnaming (accessed on
March 15, 2018)(explaining that the act of referring to a transgender person by their former name (often
referred to as their “deadname”) “can cause stress, it can also subject that person to harassment and
discrimination.”)
9 Like Twitter, Gab is an online news and social networking service where users post and interact with

messages. Many white supremacists and white nationalists, including Plaintiff, have begun using the Gab
platform in recent months as they are banned from Twitter and Facebook for violations of the policies against
hate speech on those platforms. Posts to the Gab forum are referred to as “Gabs”. Copies of the Gabs reference
in Paragraph 36 are provided at Exhibit D.
                                                      13



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        lie about everything including their gender, AND their desire and capacity for

        violence.”   By reposting Ms. Gorcenski’s tweets with harassing commentary,

        Plaintiff was implicitly directing, and continues to direct, his followers and

        supporters to visit Ms. Gorcenski’s Twitter feed to harass her.

     c) A Gab where Plaintiff states: “It’s not witness intimidation when we’re the witnesses,

        you lying mental patient. Get your affairs in order now, because it is exceedingly

        difficult to manage these things from jail when you haven’t prepared in advance.”

        This was an obvious reference to Ms. Gorcenski, to whom Cantwell has routinely

        referred using the words “lying” and mental patient,” in retaliation for the witness

        intimidation counterclaim that was included in Defendants’ initial Answer to

        Plaintiff’s Complaint (and is restated in these Amended Counterclaims, below).

     d) A Gab where Plaintiff states: “Give it up faggot, it’s not a violation of my bail

        conditions to have opinions. You’re going to men’s prison for perjury.” This was an

        obvious reference to Ms. Gorcenski, and occurred shortly after Plaintiff had

        presumably been informed by his attorney that the Commonwealth’s Attorney

        believed Plaintiff’s indirect online harassment of her to constitute a violation of

        Plaintiff’s bail conditions.

     e) One of the replies to Plaintiff’s Gab referenced in subparagraph (d), by user

        “Nathaniel Wagner” states “That’s not enough of a punishment, because we all know

        Edward is the kind of degenerate who would enjoy having a train run on him in

        prison by real men.” The user’s Gab demonstrates that Plaintiff’s followers have

        joined in on his campaign of harassment and intimidation against Defendants.

     f) A Gab where Plaintiff re-posted to his followers a statement by a user with the
                                            14



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            handle “Eric the Awful”, where the user stated: “I got a zuck just for using the word

            “tranny”. I called that Emily tranny that lied about @Cantwell a “tranny fag thing”

            in a comment in a closed group, and got zucked for it.” 10 This Gab demonstrates

            that Plaintiff’s social media followers have, in fact, taken Plaintiff’s thinly veiled cues

            to target and harass Ms. Gorcenski and Mr. Goad. Plaintiff’s reposting of the user’s

            Gab demonstrates that Plaintiff has “rewarded” some of his supporters for joining

            in the harassment campaign, by reposting and publicizing their comments to his

            followers.

        g) A Gab where Plaintiff re-posted to his followers a statement made by a user with the

            handle “Ted Colt”, where the user stated: “@Cantwell please ask judge to force

            genetic testing to ascertain sex & race, & confirm by medical examination that

            sexual reassignment surgery is complete.” The user’s Gab demonstrates that

            Plaintiff’s followers have joined in on his campaign of harassment and intimidation

            against Defendants.        Plaintiff’s reposting of the user’s Gab demonstrates that

            Plaintiff has “rewarded” some of his supporters for joining in the harassment

            campaign, by reposting and publicizing their comments to his followers.

        h) In the same Gab reposted by Plaintiff referred to in subparagraph 36 above, Plaintiff

            also reposted a sub-Gab where a user named “GoDaddy” had highlighted a portion

            from the Answer in this case where counsel for Defendants requested that this Court

            honor and enforce the use of gender-appropriate language when referring to Ms.

            Gorcenski; user “GoDaddy” added the vulgar commentary “These fucking kikes,




10The term “zuck” is a white supremacist term referring to Facebook’s policy of suspending or banning users
 who violate its policies against engaging in hate speech on the platform.
                                                     15



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        holy shit @cantwell”, which was also reposted by Plaintiff. While it is unclear

        whether the anti-Semitic slur was in reference to Defendants, their counsel, or both,

        Plaintiff’s approval through re-posting demonstrates anti-Semitic animus. The

        user’s Gab demonstrates that Plaintiff’s followers have overtly joined in on his

        campaign of harassment and intimidation against Defendants. Plaintiff’s reposting

        of the user’s Gab demonstrates that Plaintiff has “rewarded” some of his supporters

        for joining in the harassment campaign, by reposting and publicizing their

        comments to his followers.

     i) A Gab where Plaintiff stated (in reference to a public tweet by Ms. Gorcenski about

        traveling overseas): “Gorcenski skipping the country again? Could it be that the

        many inconsistencies in her sworn statements, and testimony are finally coming to

        light for some prosecutor preparing for a big trial? A prosecutor who has proven

        willing to charge people with perjury, perhaps? Hrmmm…” This Gab continues

        Plaintiff’s pattern of inciting his followers and supporters to harass Defendants by

        propagating the false claim that Defendants have committed perjury.

     j) A Gab where Plaintiff reposted a Tweet from Ms. Gorcenski’s account (which

        included her image and Twitter handle) which stated “A lot of people over the past

        year oe [sic] so have asked me when the right time to leave the country is. Now. It’s

        now.” In his repost, Plaintiff celebrated the fact that white supremacists had so

        terrorized Ms. Gorcenski into considering leaving the country by adding the

        commentary “#MAGA” (a popular white supremacist reference to now-President

        Donald Trump’s campaign slogan, “Make America Great Again”). This celebratory

        Gab demonstrates that Plaintiff is celebrating the fact that the campaign of


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        harassment he and his followers have waged on Ms. Gorcenski has been so effective

        as to cause her to consider leaving the country.

     k) Plaintiff reposted one of the replies to the Gab referenced in subparagraph (i), by

        user “Jennifer Scharf,” which contained a meme celebrating the idea that Plaintiff

        and his followers were “Causing [Their] Enemies” to Self-Deport.” This reply

        further demonstrates that Plaintiff’s followers were joining in on, and reveling in

        the harassment campaign against Defendants. The user’s Gab demonstrates that

        Plaintiff’s followers have overtly joined in on his campaign of harassment and

        intimidation against Defendants.         Plaintiff’s reposting of the user’s Gab

        demonstrates that Plaintiff has “rewarded” some of his supporters for joining in the

        harassment campaign, by reposting and publicizing their comments to his followers.

     l) A post to Plaintiff’s blog, dated February 16, 2018, in which Plaintiff (bizarrely)

        blames Ms. Gorcenski for the fact that commercial a credit card payment processor,

        Stripe, began refusing to process payments for the fundraising site Maker Support,

        because of that site’s support for organized neo-Nazis and white supremacists. See

        Exhibit E. In the post, Plaintiff refers to Ms. Gorcenski as “Emily Gorcenski, a

        mentally ill liar who committed perjury to have me arrested for crimes which never

        occurred,” and states that Emily’s “real name is Edward, and he is pretending to be

        a woman.” This post was particularly harmful to Ms. Gorcenski, who works for a

        financial technology company; the false allegations contained in the blog of

        dishonesty or improper conduct in relation to the field of financial technology could

        be potentially damaging to her professional career and employment opportunities.

     m) A Gab where Plaintiff re-posted to his followers a Gab from user “CapitalOne” which

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        stated (in apparent reference to the immediate case): “I hope that faggot tranny has

        some kind of assets to seize or at least if @cantwell wins he can garnish that freak’s

        wages to help fund the creation of the Emily Gorcenski Center of Appreciation for

        Adolf Hitler.” The user’s Gab demonstrates that Plaintiff’s followers have overtly

        joined in on his campaign of harassment and intimidation against Defendants.

        Plaintiff’s reposting of the user’s Gab demonstrates that Plaintiff has “rewarded”

        some of his supporters for joining in the harassment campaign, by reposting and

        publicizing their comments to his followers.

     n) A Gab where Plaintiff reposted two tweets from Ms. Gorcenski’s account (which

        included her image and Twitter handle) about Valentine’s Day, adding the

        commentary “Happy VD from Clown World!”

     o) One of Ms. Gorcenski’s humorous Valentine’s Day tweets reposted by Plaintiff,

        referred to in the preceding subparagraph (n), said “Let 2018 be the year you go gay

        and minimize your exposure to terrible dudes.” In response to Plaintiff’s reposting

        of Ms. Gorcenski’s tweet, Gab user “Cryptonazi” posted about Ms. Gorcenski in

        another Gab, stating:

                Straight from the horse’s mouth, being gay is a choice and one can
                simply “go gay” if they chose to. Thanks for clarifying that Edward!
                Of course this means that the converse is also true and fags can
                simply be made to “go straight” if social pressure to cast out
                degeneracy increases.

        Plaintiff reposted Cryptonazi’s reply to Plaintiff’s Gab followers. The user’s Gab

        demonstrates that Plaintiff’s followers have overtly joined in on his campaign of

        harassment and intimidation against Defendants. Plaintiff’s reposting of the user’s

        Gab demonstrates that Plaintiff has “rewarded” some of his supporters for joining
                                            18



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            in the harassment campaign, by reposting and publicizing their comments to his

            followers.

        p) A Gab where Plaintiff posted an image of a noose and a stop watch, containing text

            (written in a font that resembled blood dripping from the letters) which read “Time

            is running out antifa. Tick Tock.” This Gab was an overt threat directed toward,

            inter alia, Ms. Gorcenski and Mr. Goad, whom Plaintiff has stated repeatedly

            (online and in the Complaint) that he believes to be “ANTIFA” [sic].

        q) A Gab where Plaintiff stated: “Your twitter accusations don’t matter to the FBI,

            faggot. You should have kept it local instead of importing your Philly pals. You’re

            going to a men’s prison.” 11 This is a clear reference to Ms. Gorcenski, and yet

            another example of his pattern of accusing Ms. Gorcenski of perjury, and

            threatening that she will be sent to “men’s prison” and the horrifying reality that

            transgender inmates face extremely high rates of assault and sexual violence in

            prison as a way to threaten and intimidate her. As described below, Plaintiff has

            even gone so far as to carry the “men’s prison” theme of harassment into the papers

            filed in this Court. See ¶ 52, below.

        r) A Gab where Plaintiff stated (in apparent reference to his expectation of monetary

            gain from the present case): “Someday soon I will say “And we are coming to you

            live, from the Eddie Gorcenski studio where…”” This was an overt reference to

            Plaintiff’s intentional and frivolous use of this Court and the case at bar to harass,


11Plaintiff’s reference to “your Philly pals” appears to allude to a theory by Plaintiff that Ms. Gorcenski
coordinates or has coordinated with activists from Philadelphia in opposing white supremacy, including on
August 11. At the time Plaintiff posted this Gab, Plaintiff and other white supremacists were particularly incensed
by the fact that anti-fascist activists from Philadelphia had recently discovered and disclosed the identity of
Plaintiff’s friend and fellow white supremacist Daniel W. McMahon of Brandon, FL, who had been operating
online under the pseudonym Jack “Pale Horse” Corbin.
                                                        19



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            intimidate, and threaten Defendants.

        s) A Gab where Plaintiff reposted a Tweet from Ms. Gorcenski (which included her

            image, Twitter handle, and a direct link to her Twitter profile) in which Ms.

            Gorcenski stated that she was not impressed with the Gab platform, and Plaintiff

            added the commentary: “Gorcenski made a Gab account, and she apparently doesn't

            like the interface much. Too bad, I think it would be fun to see her post here often.”

            User “C.B.” replied to Plaintiff’s post stating: “can we all mass post we are promoting

            tranny death penalty laws and watch the fun unfold.” User “GOY Rodef” replied to

            Plaintiff’s post stating “Should be fun keeping that freak of nature’s [Gab] score at -

            1488.” 12 The user’s Gab demonstrates that Plaintiff’s followers have overtly joined

            in on his campaign of harassment and intimidation against Defendants, and have

            celebrated doing so.

        t) A Gab where Plaintiff stated: “The thing is, I don't feel any better calling that fuckin

            freak a man, and I was never able to figure out the gender neutral they/them thing

            when it came to singular entities. This is why we just need to have them executed at

            taxpayer expense.” This was a clear reference to Ms. Gorcenski, and a threat and/or

            an attempted incitement to violence against her.

        u) A Gab where Plaintiff stated: “I’ve been doing a lot of thinking about transgender

            rights lately, and I can only come up with one. Assisted suicide.” This was a clear



12“1488” is an apparent reference to the white supremacist “14 words” slogan (“We must secure the existence of
our people and a future for white children.") and the white supremacist code “88” used to refer to “Heil Hitler”
(8 representing the letter “H” as the eight letter of the alphabet). The reference to Ms. Gorcenski’s “score” refers
to Gab’s user ranking system, whereby the platform awards a use one “Frog Point” every time someone else
upvotes the user’s content, and subtracts one point every time someone else downvotes the user’s content.
Achieving a higher Gab score is seen as desirable by Gab users, and unlocks certain additional functionalities on
the platform.
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        reference to Ms. Gorcenski, and a threat and/or an attempted incitement to violence

        against her.

     v) At one point after Ms. Gorcenski had temporarily changed the privacy settings on

        her Twitter account to make her Tweets private, due to the influx of white

        supremacist online harassment she was experiencing, Plaintiff posted a Gab which

        stated “Day 2 that Emily Gorcenski's tweets are private. What are you hiding, Eddie?

        (Hint: I already know, and it's not looking good for you).” This Gab was directed

        toward Ms. Gorcenski with the intent to intimidate her, to make sure she knew that

        Plaintiff was monitoring her Twitter feed, and served also as a signal to Plaintiff’s

        followers to harass Ms. Gorcenski on Plaintiff’s behalf.

     w) The replies to Plaintiff’s Gab described in subparagraph (v) included a variety of

        transphobic and vulgar insults and threats against Ms. Gorcenski. One of the replies,

        from user “Bovine X”, stated: “No Idea Who This [Ms. Gorcenski] Is But I’m Game

        To Learn.” Another reply, from user “OffensivelyOpenminded”, stated: “They're not

        private anymore. *I tweeted this video to him, lol” along with a link to a video that

        the user had tweeted to Ms. Gorcenski. These replies demonstrate that Plaintiff

        knew or should have known that his followers were interpreting his Gabs about Ms.

        Gorcenski as a signal or instruction for them to seek out, target, harass, threaten,

        and intimidate Ms. Gorcenski and/or Mr. Goad online, that Plaintiff’s followers

        were in fact doing so, and that Plaintiff was aware of that fact.

     x) A Gab by Plaintiff stating: “When I watch people lie, and I have proof that they are

        lying, but I have to wait to show the proof while they continue lying, my time

        preference skyrockets beyond that of a crack crazed negro and I just chimp the fuck

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            out in front of my computer.” This Gab was a clear reference to Plaintiff’s false

            accusations that Defendants have committed perjury, and a threat that he is

            impatiently waiting to retaliate against her for this (entirely imagined) trespass.

         y) A Gab by Plaintiff stating that “Trannies need to be extra careful to obey the law.

            When they commit perjury, or other crimes, they go to the prison they were born

            for, not the one they wanted.” This Gab links to an article about Texas’ policies

            regarding transgender prisoners. This Gab was a clear reference to Ms. Gorcenski,

            and reiterates Plaintiff’s false accusation that she has committed perjury; it is yet

            another example of Plaintiff’s “men’s prison” line of harassment.

   31.     On or about February 12, 2018, Plaintiff also “followed” Ms. Gorcenski on Gab, to be

able to view her Gabs automatically in his feed. As users of the platform know, Ms. Gorcenski

received a notification when Plaintiff followed her, thus creating an indirect contact from Mr.

Cantwell to Ms. Gorcenski, intending to intimidate her by sending her the message that he was

monitoring her Gabs.

   32.     Plaintiff has made numerous similar harassing and threatening statements about

Defendants on his podcast. Examples include:

         a) In Episode 28, Plaintiff stated “I try to monitor a Twitter feed of a certain mental

            patient” to try and find information useful for his criminal case. This was a clear

            reference to Ms. Gorcenski, intended to intimidate her, and a signal to Plaintiff’s

            supporters that they should monitor Ms. Gorcenski’s Twitter feed as well.

         b) In episode 29, Plaintiff referred to Ms. Gorcenski as a “mentally ill degenerate who

            recently committed perjury”, a “man in a dress”, and “a tranny degenerate and his

            lies”, and made a statement presumably directed at the Commonwealth’s Attorney
                                              22



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            that “your witnesses are lying and if you put them on the stand you’re committing a

            crime.” In Episode 29, Plaintiff also threatened that “I will make everyone involved

            in this [the criminal case against him] pay,” and warned that those cooperating in

            the criminal case against him: “do not underestimate my willingness to risk life,

            limb, and liberty,” suggesting that he is prepared to violate the law in the service of

            his vendetta.

         c) In Episode 38, a caller into Plaintiff’s podcast asked Plaintiff if he was “going to have

            anybody make sure [Ms. Gorcenski] has a hard time making it to court.” Plaintiff

            instructs the caller and his listeners not to talk “like that” on the show because

            Plaintiff believes he is being listened to by the FBI. In this Episode, Plaintiff also

            threatens that he is privy to “information” about Defendants and others that he can’t

            share at this time, “but these guys have some consequences coming to them,” and

            that “a lot of these leftists are gonna be in jail.”

   33.      When Plaintiff has posted these statements, Ms. Gorcenski has documented an

immediate noticeable increase of on-line harassment from white supremacists, particularly

after the instances in which Plaintiff has posted screen shots from Ms. Gorcenski’s own social

media feed, which direct Plaintiff’s followers to Ms. Gorcenski’s social media profiles, and

serve as a thinly veiled signal to his followers for them to harass her. On information and

belief, to be further documented in discovery, all or most of this additional on-line harassment

is from individuals who either know Plaintiff personally or follow him on social media and/or

his blog.

   34.      Plaintiffs harassing, threatening, and intimidating statements and conduct were

directed at, variously, Ms. Gorcenski, Mr. Goad, or both. They were made with the intent and

                                                   23



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expectation that Defendants would see them (either directly, because it is wise to monitor

people who actively call for violence against you, or indirectly, because another concerned

person could be expected to alert Defendants to the threatening and harassing nature of the

content), and with the intent and expectation that Plaintiff’s supporters would take their cues

from the content of the posts in order to directly harass, threaten and intimidate Defendants

on behalf of Plaintiff. There is no other plausible explanation for the volume and intensity of

Plaintiff’s threatening, harassing, and intimidating posts and statements.

      35.     Plaintiff’s harassing, threatening, and intimidating statements and conduct, and the

harassing, threatening, and intimidating statements and conduct of his followers at Plaintiff’s

suggestion, have had, and continue to have, the effect of putting Defendants in reasonable fear

of bodily harm or death.

  36.         On October 8, 2017, Ms. Gorcenski was the victim of what is known as a “swatting”

attack—a harassment and/or attempted murder tactic where the harasser makes a false police

report, usually of an urgent or violent crime, with the intention of luring law enforcement or

SWAT to an address to harass, intimidate, injure, or murder the        targeted   individual.   In

this instance, an unknown individual called the Charlottesville Police Department and falsely

reported a violent domestic disturbance in progress at Ms. Gorcenski’s house, prompting an

urgent police response. On information and belief, to be further documented in discovery, the

person instigating the “swatting” attempt was motivated by Cantwell’s online harassment and

incitement of his followers to violence against Ms. Gorcenski.

37.         Because Plaintiff admittedly monitors Ms. Gorcenski’s Twitter account, and Ms.

Gorcenski tweeted about the swatting attempt, Plaintiff was aware of the swatting attempt

and that Ms. Gorcenski believed it to be connected to her online harassment by Plaintiff and

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 his followers. Thus, even if Plaintiff himself was not involved in or connected to the swatting

 attempt, he knew or reasonably should have known that his continued threatening, harassing,

 and statements and posts about Ms. Gorcenski after the date of the swatting attempt: a)

 would put Ms. Gorcenski in reasonable fear of death, or bodily injury to themselves or to their

 family members or household members; and b) would be reasonably likely to incite his

 followers to further attempts at violence, threatening conduct, intimidation, and/or

 harassment against Ms. Gorcenski and Mr. Goad.

   38.     For each harassing statement or image that was published to, or intended to drive

web traffic to, Plaintiff’s website (https://christophercantwell.com ), including the “Gassing

Kikes and Trannies” song, published with photographs of Defendants, the publication was

made alongside and in connection with multiple links on his website soliciting commercial

business from viewers, including solicitations for monetary donations to his site, solicitations

for visitors to purchase a paid membership to his website, and solicitations for visitors to

purchase merchandise 13 in Plaintiff’s online store. As such, the publication of such statements

and the use of Defendants’ names and photographs were made for purposes of Plaintiff’s

advertising or trade, in order to drive more web traffic to Plaintiff’s website and/or to solicit

monetary donations, paid memberships, and the purchase of Plaintiff’s merchandise from his

website.

   39.     Because of the fear instilled in Ms. Gorcenski by Plaintiff’s conduct, prior to the

November 9 preliminary hearing in Plaintiff’s criminal case, and at Ms. Gorcenski’s urging,

the Commonwealth’s Attorney made a motion for a protective order to prohibit Plaintiff from



13 The merchandise available in Plaintiff’s store includes t-shirts and other apparel featuring the logo of Mr.

Cantwell’s website, bumper stickers with slogans such as “Physically Remove Democrats”, “I [heart] Physical
Removal”, and “It’s Okay to Be White,” and an English translation of Adolf Hitler’s Mein Kampf.
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engaging in harassing, intimidating, or threatening conduct towards Ms. Gorcenski. Ms.

Gorcenski was given no notice that this motion would be decided at the November 9

preliminary hearing, nor was she told that she would be asked to produce evidence of this

conduct at that hearing. Because of this, the motion for a protective order was denied on that

date due to lack of evidence of the threat against Ms. Gorcenski. However, the conditions of

Plaintiff’s bail prohibit him from having any direct or indirect contact with Ms. Gorcenski or

Mr. Goad.

  40.    Plaintiff’s conduct violates his bond condition forbidding any direct or indirect

contact with Ms. Gorcenski or Mr. Goad. Out of fear for her safety, Ms. Gorcenski has been

documenting the above conduct and periodically reporting it to the Albemarle County

Commonwealth’s Attorney’s Office.        Ms. Gorcenski has also reported threats to the

Charlottesville Police Department and the Charlottesville Commonwealth’s Attorney’s Office

in order to seek protection from these threats through the proper channels. On information

and belief, on or about March 13, 2018, the Albemarle County Commonwealth’s Attorney’s

Office filed a motion for a modification of Plaintiff’s bond conditions and/or for violation of

Plaintiff’s bond based at least in part on some or all of the conduct described herein.

  41.    Plaintiff’s conduct was directed towards Defendants in that he: 1) followed Ms.

Gorcenski on Gab, which he knew would generate a notice to her; and 2) posted and publicized,

or allowed to be posted and publicized, Defendants’ names and images to his followers on

numerous occasions, thereby signaling to and inciting his followers to engage in harassment

and intimidation of Defendants.

  42.    In addition to Plaintiff’s own conduct, individuals known to be closely associated

with Plaintiff, believed to be working in coordination with Plaintiff, have engaged in direct

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harassment, threatening conduct, and intimidation of Ms. Gorcenski online. One noteworthy

example is David Rotter, who testified as a defense witness at Plaintiff’s preliminary hearing

in the criminal case, and who is believed to be a close associate of Plaintiff’s. Ever since

Plaintiff’s arrest, and with increasing frequency after he and Ms. Gorcenski both testified at

the preliminary hearing, Mr. Rotter has posted dozens of harassing, threatening, and

intimidating messages to Ms. Gorcenski’s Twitter timeline, including tweets in which he

repeatedly accuses Ms. Gorcenski of making false statements under oath (mirroring Plaintiff’s

claims). Notably, one Tweet also uses the phrase “Clown World” to refer to Ms. Gorcenski,

which is identical to the phrase used by Plaintiff in the Gab described in Paragraph 30(n),

supra. Examples of Mr. Rotter’s tweets to Ms. Gorcenski are reproduced in Exhibit F.

  43.    Jason Kessler, the white supremacist who is credited with having orchestrated the

“Unite the Right” rally on August 12, and who is known to be a close associate of Plaintiff’s,

posted a video of Mr. Goad to Facebook shortly after Plaintiff was arrested. The post stated

“This guy is Cantwell’s accuser. He appears to be a serial harasser of Confederate monument

supporters. Please give me more information on him.” In the replies to Kessler’s post, one

Facebook user “Chip Breeden” immediately threatened “F##king Punk will get that ass

whipped!” Copies of Kessler’s post and this reply are reproduced in Exhibit G.

  44.    On information and belief, Kessler’s post about Mr. Goad was made in coordination

and agreement (either explicit or implicit) with Plaintiff for the purpose of seeking out

information that could be used to threaten, harass, and intimidate Mr. Goad, and to encourage

others to threaten, harass, and intimidate Mr. Goad.

  45.    Mr. Rotter’s conduct, along with the conduct of the scores of other white

supremacists who harass Ms. Gorcenski on Twitter and who are believed to be affiliates and/or

                                             27



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followers of Plaintiff, demonstrates that supporters and confederates have overtly joined in on

his campaign of harassment and intimidation against Defendants.




  Plaintiff’s Efforts to Abuse the Process of this Court to Further Harass Defendants

  46.    Plaintiff now seeks to enlist this Court in his continued campaign of unlawful

harassment against Defendants by filing the Complaint in this Court, notwithstanding the

fact that the claims made against Defendants are utterly without merit because, inter alia, the

criminal proceedings against Plaintiff are still pending, and, in any event, Plaintiff has not

alleged sufficient facts to state a cause of action against Defendants for malicious prosecution

or false imprisonment. See Answer ¶¶ 127 -141; see also ¶¶ 4 – 22, supra.

  47.    Plaintiff initiated these meritless proceedings while there are active criminal

proceedings pending against him in Albemarle County Circuit Court for the unlawful use of

gas. Ms. Gorcenski and Mr. Goad both testified against Plaintiff at the preliminary hearing

on November 9, and have both been subpoenaed to testify against Plaintiff as witnesses for

the Commonwealth at the trial on August 13.

  48.    Plaintiff’s intent in initiating a frivolous lawsuit against Defendants was to harass,

threaten, or intimidate Defendants from testifying in the criminal trial against him, and/or to

seek retribution against Defendants for filing criminal complaints and for testifying at the

preliminary hearing.

  49.    Furthermore, the papers filed in this case have contained passages that mirror the

harassing, insulting, and threatening statements and conduct described above. For example,

Plaintiff filed the Complaint in this case under Ms. Gorcenski’s former name, or “deadname”,

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and repeatedly used masculine pronouns throughout the Complaint, which Plaintiff clearly

understands and intends to be a form of transphobic harassment. The transphobic, harassing

purpose of deadnaming and misgendering Ms. Gorcenski in the Complaint is particularly

evident in light of the fact that the Complaint acknowledges that Ms. Gorcenski “has changed

[her] name to Emily Florence Gorcenski.” The Complaint also makes the harassing,

transphobic and materially false statement that Ms. Gorcenski “pretends to be a transgender

woman of color.” 14 See Compl. ¶ 4.

     50.   The Complaint also contains bizarre, false, unfounded, and defamatory accusations

against Defendants, including: a) the false and unfounded claim that Ms. Gorcenski is a

“ “Media relations assistant” to ANTIFA” who “believes that ‘Republicans’ seek to assassinate

[her]” (See Compl. ¶ 4, and Answer ¶ 4); b) the false, unfounded claim that Mr. Goad “is a

violent political activist” (See Compl. ¶ 5, and Answer ¶ 5); and c) the bizarre, false, and

entirely confusing accusations that each of the entirely consistent statements Defendants have

made in the criminal case are somehow inconsistent in a manner that rises to the level of

perjury. 15




14
  Ms. Gorcenski is, in fact, a transgender woman of Asian ancestry. The irony that Plaintiff, an avowed white
supremacist and white ethno-nationalist, repeatedly insists that she is “white” is not lost on Defendants. It is a
remarkable case study in the internal contradictions and logical unsustainability of white supremacist ideology,
insomuch as it demonstrates that the construct of “race” does not have a biological basis, but is wholly a social
construct that was conceived to justify chattel slavery and the trans-Atlantic slave trade, and which is maintained
to justify the pernicious present-day consequences wrought by the legacies of slavery and structural white
supremacy.

15The one factual error that has been identified in Defendants’ prior statements was that, upon reviewing video
of the incident with the Commonwealth’s Attorney, Mr. Goad learned for the first time that he had, in fact, been
affected by the pepper spray deployed by another person in addition to having been affected by the pepper spray
deployed by Plaintiff. Upon learning of this, the Commonwealth’s Attorney immediately took steps to notify
Plaintiff’s counsel of this new information, consistent with his ethical and prosecutorial obligation. The new
information that Mr. Goad was the victim of an additional pepper spray incident on August 11 in no way mitigates
Plaintiff’s culpability for his own pepper spray discharge; Plaintiff’s seeming insistence that it does is puzzling,
at best, and materially misleading, at worst.

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     51.     For example, the Complaint bizarrely claims that the following three statements

made by Ms. Gorcenski are inconsistent (See Compl. ¶ 55):

           a) In her initial verbal police report, Ms. Gorcenski stated that she was “sprayed in the

              eyes with pepper spray” 16;

           b) In her written statement to law enforcement, Ms. Gorcenski stated that she “felt the

              burning in my eyes of pepper spray or mace. Soon my mucus membranes burned

              and I had trouble breathing.”;

           c) In her affidavit to the magistrate, Ms. Gorcenski stated “I inhaled/was affected by a

              chemical spray” and “the overspray affected me directly. My eyes and sinuses were

              burning.”

Given that the eyes and sinuses are both locations of major mucus membranes, the three

statements above are entirely consistent and in no way contradictory. See also Answer ¶ 55.

Plaintiff’s baffling, unfounded accusation that these statements are somehow contradictory

further demonstrates that the purpose of the immediate litigation is to harass and intimidate

Defendants, rather than to pursue a good faith legal claim.

52.         Similarly, a Motion for Extension of Time to File filed by Plaintiff in this case (See Dkt.

No. 18, at ¶ 9) contained transphobic, harassing accusations against Ms. Gorcenski that had

no bearing whatsoever on the merits or procedure of the litigation 17, but which mirrored the

harassing language used by Plaintiff to describe Ms. Gorcenski on Gab, his blog, and in his


16It is unclear from the Complaint whether Plaintiff claims that this is a direct quote from Ms. Gorcenski, or a
quote from the police report; it appears to be the latter.

17As this Court correctly alluded to in its Order denying this Motion (Dkt. No. 19), this harassing paragraph did
not even serve the functional purpose of actually opposing Ms. Gorcenski’s request to have this case recaptioned
under her true name, as the reason not to do so was nowhere actually offered, and no objection to the requested
relief was made by counsel.
                                                       30



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podcast. The strange, harassing, transphobic paragraph stated:

            Despite his efforts to the contrary, Gorcenski is not in fact a female human
            being, having been born with and retaining the XY chromosome. If
            convicted and sent to prison in Virginia, he would go to a male prison,
            whether he liked it or not… Further, Gorcenski’s presenting himself as a
            female is untruthful, mendacious, and deceptive. He is free to suffer the
            consequences of his decision, but has no right to force others to condone his
            lie. 18


Id. As above, the use of documents filed in this Court for the sole purpose of propagating

Plaintiff’s bigoted, transphobic views about Ms. Gorcenski, particularly when such documents

serve no functional purpose in the litigation, further demonstrates that the purpose of the case

at bar is to harass and intimidate Defendants, rather than to pursue a good faith legal claim.




Harm to Defendants Resulting from Plaintiff’s Harassing and Intimidating Conduct

   53.     As a result of Plaintiff’s harassing, threatening, and intimidating conduct,

Defendants have been placed in reasonable fear of death, criminal sexual assault, or bodily

injury to themselves or to their family members or household members.

   54.     As a result of the fear caused by Plaintiff’s harassing, threatening, and intimidating

conduct, Defendants have both been required to seriously reconsider whether it is safe for

them, and to their family members or household members, to continue cooperating in the

Commonwealth’s criminal case against Plaintiff or to testify at the trial.

   55.     Ms. Gorcenski and Mr. Goad have incurred, and continue to incur, substantial



18 As noted by Nell Gaither, President of Trans Pride Initiative, these pseudo-scientific claims are abusive,

harassing, and have no basis in human biology or psychology; instead, they are based in bias and transphobia.
See Letter from Nell Gaither to Hon. Norman K. Moon and Hon. Joel C. Hoppe, dated March 2, 2018, attached
hereto as Exhibit H.
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damages as a result of Plaintiff’s harassing and intimidating conduct, including extreme stress,

emotional damages and the costs of treatment therefore, the costs of taking reasonable

increased security measures to secure their persons and property from harm, the costs of

attorneys’ fees to advise them of their rights and obligations as victims and witnesses in the

criminal trial, and the costs of attorneys’ fees to defend the immediate civil action.

  56.    Defendants’ families and household members have also suffered, and continue to

suffer, substantial stress and trauma as a result of Plaintiff’s harassing and intimidating

conduct, out of fear for their own safety and the safety of Defendants.

   57. The stress and trauma resulting from Plaintiff’s harassment and intimidation campaign

against Ms. Gorcenski has become so severe that Ms. Gorcenski to has sought employment in

Germany, and plans to relocate in May.




           Defendants’ Amended (First) Counterclaim Causes of Action

First Cause of Action – Assault

  58.     Defendants reallege and reincorporate each of the proceeding paragraphs, and each

and every paragraph of their Answer to the Complaint, as if fully restated herein.

  59.    By his conduct on August 11 of intentionally deploying pepper spray in a crowded

area in which Defendants were present, and in physically shoving and making contact with

Defendants, Plaintiff engaged in overt acts intended to inflict bodily harm, which had the

ability to inflict such harm on Defendants and others present at the statue, or, in the

alternative, Plaintiff engaged in overt acts intending to place Defendants and others present

at the statue in fear or apprehension of bodily harm, and did in fact create such reasonable

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fear and apprehension in both Defendants.

  60.    As such, Plaintiff’s conduct at the statue on August 11 constituted assault against both

Mr. Goad and Ms. Gorcenski, and Plaintiff is liable to both Defendants in tort for that assault.

Defendants are entitled to compensatory damages, punitive damages, and reasonable attorney

fees and costs.




Second Cause of Action – Battery

  61.    Defendants reallege and reincorporate each of the proceeding paragraphs, and each

and every paragraph of their Answer to the Complaint, as if fully restated herein.

  62.    By his conduct on August 11 of intentionally deploying pepper spray in a crowded

area in which Defendants were present, which pepper spray did actually make unwanted

contact with both Mr. Goad and Ms. Gorcenski, and in physically shoving and making contact

with Defendants, Plaintiff committed unwanted touching against both Defendants which was

neither consented to, excused, nor justified.

  63.    As such, Plaintiff’s conduct at the statue on August 11 constituted battery against Ms.

Gorcenski and Mr. Goad, and Plaintiff is liable to both Defendants in tort for that battery.

Defendants are entitled to compensatory damages, punitive damages, and reasonable attorney

fees and costs.




Third Cause of Action – Negligence

  64.    Defendants reallege and reincorporate each of the proceeding paragraphs, and each


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and every paragraph of their Answer to the Complaint, as if fully restated herein.

  65.      By his conduct on August 11 of intentionally deploying pepper spray in a crowded

area in which Defendants were actually present, which pepper spray did actually make

unwanted contact with both Mr. Goad and Ms. Gorcenski, causing each of them to suffer

physical and emotional harm from the effects of the pepper spray and the trauma of the

incident, Plaintiff failed to exercise the reasonable care expected of a person of ordinary

prudence in such a situation.

  66.      As such, Plaintiff was negligent in intentionally deploying the pepper spray in a

crowded area, and such negligence was the proximate cause of physical and emotional injury

to Defendants. Plaintiff is liable in tort to Defendants for the injury caused by his negligent

conduct.     Defendants are entitled to compensatory damages, punitive damages, and

reasonable attorney fees and costs.




Fourth Cause of Action – Stalking

  67.      Defendants reallege and reincorporate each of the proceeding paragraphs, and each

and every paragraph of their Answer to the Complaint, as if fully restated herein.

  68.      By his conduct in having engaged and continuing to engage in the pattern of

harassing, intimidating, and threatening conduct described in the preceding paragraphs,

Plaintiff, on more than one occasion has engaged and continues to engage in conduct directed

at Defendants with the intent to place, or which he knows or reasonably should know places,

Defendants in reasonable fear of death, criminal sexual assault, or bodily injury to Defendants

or to their other families or household members in violation of Virginia Code § 18.2-60.3.

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  69.    Defendants have incurred actual physical, monetary, and emotional damages as a

result of Plaintiff’s stalking, and are entitled to an injunction, and to compensatory and

punitive damages pursuant to Virginia Code § 8.01-42.3.




Fifth Cause of Action – Unlawful Use of Names & Photographs

  70.    Defendants reallege and reincorporate each of the proceeding paragraphs, and each

and every paragraph of their Answer to the Complaint, as if fully restated herein.

  71.    By his conduct in having engaged and continuing to engage in the pattern of

harassing, threatening, and intimidating conduct described above, Plaintiff has knowingly

published and otherwise used the names, photographs, and likenesses of and references to Ms.

Gorcenski and Mr. Goad for the purposes of trade—specifically for the purpose of increasing

traffic to his website and encouraging visitors to his website to make monetary donations,

purchase paid memberships, or purchase merchandise from Plaintiff’s website.

  72.    This publication and use occurred without the written consent of either Ms.

Gorcenski or Mr. Goad and in violation of Virginia Code § 8.01-40.

  73.    Defendants have incurred actual damages as a result of Plaintiff’s unlawful use of

their names, pictures, and likenesses and are entitled to a restraining order as well as

compensatory and punitive damages pursuant to Virginia Code § 8.01-40.




Sixth Cause of Action – Harassment & Violence Motivated by Cantwell’s Racial, Religious,
& Ethnic Animus toward Ms. Gorcenski and Mr. Goad


  74.    Defendants reallege and reincorporate each of the proceeding paragraphs, and each
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and every paragraph of their Answer to the Complaint, as if fully restated herein.

  75.    By his conduct in having engaged in violence against Defendants on August 11, and

in having engaged in and continuing to engage in the pattern of harassing, intimidating, and

threatening conduct described above, Plaintiff has targeted Ms. Gorcenski and Mr. Goad for

the violations of law alleged in the previously stated causes of action based on Plaintiff’s

perception of Defendants’ racial, religious, or ethnic backgrounds, and/or based on his

perception of Defendants’ sympathies and solidarity with people of racial, religious, or ethnic

backgrounds which Plaintiff deems to be inferior. A self-avowed white nationalist, Plaintiff

was motivated to engage in this activity by his own racial, religious, ethnic animus in violation

of Virginia Code § 8.01-42.1.

  76.    In addition, Plaintiff’s repeated use of anti-Semitic and racist slurs and language in

the course of his harassment campaign (e.g., repeated references to Defendants as “kikes” or

as working at the direction of “the Jews”) demonstrates that Plaintiff’s harassment and

intimidation of Defendants has been motivated by Plaintiff’s racial, religious, or ethnic

animosity, based on either his perception of Defendants’ identification with a particular racial,

religious, or ethnic group, and/or based on his perception of Defendants’ sympathies and

solidarity with people with people of racial, religious, or ethnic backgrounds which Plaintiff

deems to be inferior.

  77.    Defendants have incurred and continue to incur actual damages as a result of being

targeted by the Plaintiff for this intimidation and harassment, and are entitled to an injunction,

compensatory damages, punitive damages, and reasonable attorney fees and costs pursuant

to Virginia Code § 8.01-42.1.



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Seventh Cause of Action - Conspiracy to Interfere with Civil Rights: Obstruction of Justice,
Witness Intimidation
  78.    Defendants reallege and reincorporate each of the proceeding paragraphs, and each

and every paragraph of their Answer to the Complaint, as if fully restated herein.

  79.    The Plaintiff has conspired explicitly and/or tacitly with one or more other persons

and entities whose identities are known and unknown to Ms. Gorcenski, including but not

limited to Jason Kessler, David Rotter, Daniel McMahon, Corey Mahler, Zyniker Law, William

Fears, all persons and entities (known and unknown) acting as agents of the Plaintiff through

creation, posting, promotion and/or maintenance of content on the Plaintiff’s blog, podcast,

social media accounts, and all persons and entities (known and unknown) who support,

encourage, and contribute to the Plaintiff’s actions against Ms. Gorcenski via fundraising,

promotion, donation of money, goods, and labor to deter Ms. Gorcenski from testifying against

the Plaintiff in the criminal matter currently pending against the Plaintiff in Albemarle County,

Virginia. The agreement between the Plaintiff and his co-conspirators is ongoing.

  80.    The object of the agreement between the Plaintiff and his co-conspirators is to

retaliate against Ms. Gorcenski for testifying against the Plaintiff and to deter her from

testifying and cooperating in the future.

  81.    The means used by the Plaintiff and his co-conspirators to deter Ms. Gorcenski from

acting as a witness and testifying include (but are not limited to) posting of Ms. Gorcenski’s

home address, posting pictures of Ms. Gorcenski without her consent or authorization,

communication regarding Ms. Gorcenski’s whereabouts and activities, posting and

endorsement of images depicting Ms. Gorcenski’s death, repeated references to “tranny

degenerates,” disseminations of articles and opinion pieces depicting transwomen such as Ms.

Gorcenski as “degenerates,” “faggots,” and the filing of the complaint in this matter, amongst
                                               37



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other acts.

  82.    The Plaintiff and his co-conspirators hold a deep animus toward Ms. Gorcenski

because she a queer trans woman of color.

  83.    The Plaintiff has conspired explicitly and/or tacitly with one or more other persons

and entities whose identities are known and unknown to Mr. Goad, including but not limited

to Jason Kessler, David Rotter, Daniel McMahon, Corey Mahler, Zyniker Law, Hannah Zarski,

all persons and entities (known and unknown) acting as agents of the Plaintiff through

creation, posting, promotion and/or maintenance of content on the Plaintiff’s blog, podcast,

social media accounts, and all persons and entities (known and unknown) who support,

encourage, and contribute to the Plaintiff’s actions against Mr. Goad via fundraising,

promotion, donation of money, goods, and labor to deter Mr. Goad from testifying against the

Plaintiff in the criminal matter currently pending against the Plaintiff in Albemarle County,

Virginia. The agreement between the Plaintiff and his co-conspirators is ongoing.

  84.    The object of the agreement between the Plaintiff and his co-conspirators is to

retaliate against Mr. Goad for testifying against the Plaintiff and to deter him from testifying

and cooperating in the future.

  85.    The means used by the Plaintiff and his co-conspirators to deter Mr. Goad from

acting as a witness and testifying include (but are not limited to) posting Mr. Goad’s personal

information online without his consent, requesting that others find and disseminate

information about Mr. Goad, providing information to the police falsely implicating Mr. Goad

in criminal activity, disseminating said false allegations online, posting pictures of Mr. Goad

without his consent or authorization, regular harassment of Mr. Goad via multiple anonymous

accounts online, repeated references to Mr. Goad as a “kike,” and the filing of the complaint
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in this matter, amongst other acts.

  86.    The Plaintiff and his co-conspirators hold a deep animus toward Mr. Goad because

the Plaintiff believes that Mr. Goad is Jewish.

  87.    By his conduct in having engaged in and continuing to engage in the pattern of

harassing, intimidating, and threatening conduct described above, Plaintiff and others have

reached agreement (either explicitly or tacitly) and conspired with one or more others       to

deter by intimidation or threat, Mr. Goad and Ms. Gorcenski from appearing in a court of the

United States from attending such court, or from testifying to a matter pending therein, freely,

fully, and truthfully, in violation of 42 U.S.C. § 1985(2)—specifically, to deter Ms. Gorcenski

and Mr. Goad from testifying at the criminal trial against Plaintiff.

  88.    Similarly, by his conduct as described above, Plaintiff has conspired with others to

injure Defendants on account of, and in retribution for, their having attended and testified in

the preliminary hearing against Plaintiff, in violation of 42 U.S.C. § 1985(2).

  89.    Defendants have incurred and continue to incur actual damages as a result of the

ongoing conspiracy of being targeted by the Plaintiff for witness intimidation, and are entitled

to an injunction, compensatory damages, punitive damages, and reasonable attorney fees and

costs pursuant to 42 U.S.C. § 1985.




Eighth Cause of Action - Conspiracy to Interfere with Civil Rights: Depriving Persons of
Rights or Privileges

  90.    Defendants reallege and reincorporate each of the proceeding paragraphs, and each

and every paragraph of their Answer to the Complaint, as if fully restated herein.

  91.    The Plaintiff has conspired explicitly and/or tacitly with one or more other persons
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and entities whose identities are known and unknown to Ms. Gorcenski, including but not

limited to Jason Kessler, David Rotter, Daniel McMahon, Corey Mahler, Zyniker Law, William

Fears, all persons and entities (known and unknown) acting as agents of the Plaintiff through

creation, posting, promotion and/or maintenance of content on the Plaintiff’s blog, podcast,

social media accounts, and all persons and entities (known and unknown) who support,

encourage, and contribute to the Plaintiff’s actions against Ms. Gorcenski via fundraising,

promotion, donation of money, goods, and labor to deprive Ms. Gorcenski of her equal rights,

to include the right to protection from harassment and assault, the right to equal access to

courts in order to seek redress for wrongs done to her by the Plaintiff and his co-conspirators,

and the freedoms of speech, association, and assembly as guaranteed by the First Amendment

to the United States Constitution. This conspiracy is currently ongoing.

  92.    The object of the agreement between the Plaintiff and his co-conspirators is to

deprive Ms. Gorcenski from equal protection and privileges under the law, including, without

limitation, to deprive her of her right to continue associating and protesting with anti-racist

and anti-fascist activists, from seeking redress for harms done to her by the Plaintiff and his

co-conspirators, and from exercising the equal right to testify in court in the criminal

proceedings against Plaintiff, and to seek retribution against her for having exercised her equal

right to testify in court at the preliminary hearing.

  93.    The means used by the Plaintiff and his co-conspirators to deprive of the right Ms.

Gorcenski to act as a witness and testify include (but are not limited to) posting of Ms.

Gorcenski’s home address, posting pictures of Ms. Gorcenski without her consent or

authorization, communication regarding Ms. Gorcenski’s whereabouts and activities, posting

and endorsement of images depicting Ms. Gorcenski’s death, repeated references to “tranny


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degenerates,” disseminations of articles and opinion pieces depicting transwomen such as Ms.

Gorcenski as “degenerates,” “faggots,” and the filing of the complaint in this matter, amongst

other acts.

  94.    The Plaintiff and his co-conspirators hold a deep animus toward Ms. Gorcenski

because she a queer trans woman of color.

  95.    The Plaintiff has conspired explicitly and/or tacitly with one or more other persons

and entities whose identities are known and unknown to Mr. Goad, including but not limited

to Jason Kessler, David Rotter, Daniel McMahon, Corey Mahler, Zyniker Law, Hannah Zarski,

all persons and entities (known and unknown) acting as agents of the Plaintiff through

creation, posting, promotion and/or maintenance of content on the Plaintiff’s blog, podcast,

social media accounts, and all persons and entities (known and unknown) who support,

encourage, and contribute to the Plaintiff’s actions against Mr. Goad via fundraising,

promotion, donation of money, goods, and labor to deprive Mr. Goad of his equal rights, to

include the right to protection from harassment and assault, the right to equal access to courts

in order to seek redress for wrongs done to him by the Plaintiff and his co-conspirators, and

the freedoms of speech, association, and assembly as guaranteed by the First Amendment to

the United States Constitution. This conspiracy is currently ongoing.

  96.    The object of the agreement between the Plaintiff and his co-conspirators is to

deprive Mr. Goad from equal protection and privileges under the law, including, without

limitation, to deprive him of exercising the equal right to testify in court in the criminal

proceedings against Plaintiff, and to seek retribution against him from having exercised his

right to testify in the preliminary hearing.

  97.    The means used by the Plaintiff and his co-conspirators to deprive Mr. Goad of his
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right to act as a witness and testify include (but are not limited to) posting Mr. Goad’s personal

information online without his consent, requesting that others find and disseminate

information about Mr. Goad, providing information to the police falsely implicating Mr. Goad

in criminal activity, disseminating said false allegations online, posting pictures of Mr. Goad

without his consent or authorization, regular harassment of Mr. Goad via multiple anonymous

accounts online, repeated references to Mr. Goad as a “kike,” and the filing of the complaint

in this matter, amongst other acts.

  98.    The Plaintiff and his co-conspirators hold a deep animus toward Mr. Goad because

the Plaintiff believes that Mr. Goad is Jewish.

  99.    By his conduct in having engaged in and continuing to engage in the pattern of

harassing, intimidating, and threatening conduct described above, Plaintiff and others have

reached agreement (either explicitly or tacitly) and conspired with one or more others for the

purpose of depriving, either directly or indirectly, Mr. Goad and Ms. Gorcenski of the equal

protection of the laws, or of equal privileges and immunities under the laws, and Mr. Goad

and Ms. Gorcenski have, by such conspiracy, been injured in their persons and property, and

deprived of exercising the rights and privileges bestowed to them as citizens of the United

States, in violation of 42 U.S.C. § 1985(3).

  100.   Plaintiff’s harassment and intimidation of Defendants has been motivated by

Plaintiff’s by invidiously discriminatory racial, religious, or ethnic animus, based on either his

perception of Defendants’ identification with a particular racial, religious, or ethnic group,

and/or based on his perception of Defendants’ sympathies and solidarity with people with

people of racial, religious, or ethnic backgrounds which Plaintiff deems to be inferior, and is

motivated.

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  101.    In addition, Plaintiff’s virulently transphobic and homophobic harassment and

intimidation of Defendants demonstrates that his harassment and intimidation of Defendants

is motivated by his specific, invidiously discriminatory animus towards transgender, gay,

lesbian, bisexual, and gender non-conforming individuals.

  102.    Defendants have incurred and continue to incur actual damages as a result of being

targeted by the Plaintiff for deprivation of rights and privileges based on his invidiously

discriminatory animus, and are entitled to an injunction, compensatory damages, punitive

damages, and reasonable attorney fees and costs pursuant to 42 U.S.C. § 1985.




Ninth Cause of Action - Abuse of Process

  103.    Defendants reallege and reincorporate each of the proceeding paragraphs, and each

and every paragraph of their Answer to the Complaint, as if fully restated herein.

  104.    By his conduct in having filed the Complaint in this action and having caused the

Complaint and summons to be served upon Defendants, despite the Complaint’s utter lack of

basis in law, and by including statements in the Complaint that are materially misleading

and/or harassing, and which do not serve any legitimate purpose to further the litigation,

Plaintiff has abused the process of this Court for the improper purpose of threatening,

harassing, and intimidating Defendants to deter them from testifying in the criminal case

against Plaintiff.

  105.    Defendants have incurred and continue to incur actual damages as a result of

Plaintiff’s abuse of process, and are entitled to dismissal of Plaintiff’s Complaint,

compensatory damages, punitive damages, and reasonable attorney fees and costs.

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Tenth Cause of Action – Malicious Prosecution (Civil)

  106.    Defendants reallege and reincorporate each of the proceeding paragraphs, and each

and every paragraph of their Answer to the Complaint, as if fully restated herein.

  107.    By his conduct in having filed the Complaint in this action and having caused the

Complaint and summons to be served upon Defendants, despite the Complaint’s utter lack of

basis in law, and by including statements in the Complaint that are materially misleading

and/or harassing, and which do not serve any legitimate purpose to further the litigation,

Plaintiff has maliciously prosecuted a civil action in this Court for the improper purpose of

threatening, harassing, and intimidating Defendants to deter them from testifying in the

criminal case against Plaintiff.

  108.    Defendants have incurred special injury as a result of Plaintiff’s malicious

prosecution of his civil action, including the cost of attorneys’ fees to defend this action, and

the emotional injury and trauma suffered in relation to the harassing, intimidating, and

defamatory nature of Plaintiff’s civil Complaint and the papers filed with the Court in his

prosecution thereof.

  109.    Defendants have incurred and continue to incur actual damages as a result of

Plaintiff’s malicious prosecution of the civil action, and are entitled to dismissal of Plaintiff’s

Complaint, compensatory damages, punitive damages, and reasonable attorney fees and costs.




         Demand for Relief on Defendants’ Amended (First) Counterclaims

WHEREFORE, for the foregoing reasons and all others that may appear to this Court,
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Defendants/Counterclaimants Emily Gorcenski and Kristopher Goad respectfully request

the following relief:

  110.    That this Court issue an injunction enjoining Mr. Cantwell from continuing the

pattern of harassment, intimidation, abuse, and threatening conduct described above towards

either Mr. Goad or Ms. Gorcenski, and enjoining him from engaging in any conduct that would

constitute further violation of the laws referenced above or violation or depravation of Mr.

Goad and Ms. Gorcenski’s rights;

  111.    That Defendant/Counterclaimant Ms. Gorcenski be awarded compensatory

damages in the amount of $150,000, or in an amount to be determined at trial;

  112.    That Defendant/Counterclaimant Mr. Goad be awarded compensatory damages in

the amount of $150,000, or in an amount to be determined at trial;

  113.    That Defendant/Counterclaimant Ms. Gorcenski be awarded punitive damages in

the amount to $350,000;

  114.    That Defendant/Counterclaimant Mr. Goad be awarded punitive damages in the

amount $350,000;

  115.    That Defendants/Counterclaimants be awarded their costs and attorneys’ fees for

this action in bringing these counterclaims; and

  116.    That this Court grant the Defendants/Counterclaimants such other relief as the

Court deems just and proper.




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                                  Respectfully submitted,
                                  EMILY GORCENSKI
                                  KRISTOPHER GOAD
                                  By Counsel


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                                 CERTIFICATE OF SERVICE

I, Pamela Starsia, hereby certify that on March 20, 2018, I electronically filed the foregoing
with the Clerk of the Court for the United States District Court for the Western District of
Virginia by using the CM/ECF system. I certify that counsel for all participants in the case
are registered CM/ECF users and that service will be accomplished by the CM/ECF system.

Dated: March 20, 2018.

                                                            /s/ Pamela Starsia
                                                             Pamela Starsia




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